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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF PENNSYLVANIA

IN RE: PHILIPS RECALLED CPAP,                )
BI-LEVEL PAP, AND MECHANICAL                 )       Master Docket: Misc. No. 21-1230
VENTILATOR PRODUCTS                          )
LITIGATION,                                  )       MDL No. 3014
                                             )
This Document Relates to: All Actions        )

          Joint Proposed Agenda for April 25, 2024 Status Conference: Philips MDL 3014

  1. Discovery Update/Status of Proceedings with Special Master Katz;

  2. Update on FDA Consent Decree;

  3. Argument on SoClean’s/DWHP’s Objections to S.M. Katz’s Report and Recommendation on PTO-
     31;

  4. Update on Census Registry; and

  5. LDC Update.

Dated: April 23, 2024                                  Respectfully submitted,

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